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                   UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF NEW JERSEY
 ____________________________________
                                      : Case No. 23-12825 (MBK)
 In re:                               : Chapter 11
                                      :
 LTL Management LLC, 1                : Judge: Hon. Michael B. Kaplan, Chief Judge
                                     :
 Debtor.                             :  Hearing Date: June 27, 2023 at 9:00 a.m.
 ____________________________________:

       REPLY OF THE UNITED STATES TRUSTEE TO (I) DEBTOR’S OMNIBUS
     OBJECTION TO MOTIONS TO DISMISS CHAPTER 11 CASE AND (II) OMNIBUS
      OBJECTION OF THE AD HOC COMMITTEE OF SUPPORTING COUNSEL TO
                           MOTIONS TO DISMISS

         Andrew R. Vara, United States Trustee for Regions 3 & 9 (“U.S. Trustee”), by and

 through counsel, and in furtherance of his duties and responsibilities under 28 U.S.C.

 §§ 586(a)(3) and (5), respectfully submits this Reply 2 to the following objections to, among other

 motions, the Motion of the United States Trustee to Dismiss Case Pursuant to 11 U.S.C.

 § 1112(b) (the “Motion”) (Docket No. 379) filed in the above-captioned chapter 11 case of LTL




 1
   The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.
 2
  The U.S. Trustee incorporates by reference the facts, background, and legal argument contained in the Motion and
 supporting Certification.


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 Management, LLC (“LTL”): (i) Debtor’s Omnibus Objection to Motions to Dismiss Chapter 11

 Case (the “LTL Obj.”) (Docket No. 614); and (ii) Omnibus Objection of the Ad Hoc Committee

 of Supporting Counsel to Motions to Dismiss (the “AHCSC Obj.”) (Docket No. 613). In support

 of this Reply and in further support of the Motion, the U.S. Trustee respectfully states as

 follows: 3

                                      PRELIMINARY STATEMENT

         “[T]wo of the basic purposes of Chapter 11 a[re] (1) ‘preserving going concerns’ and

 (2) ‘maximizing property available to satisfy creditors.’” In re Integrated Telecom Express, Inc.,

 384 F.3d 108, 119 (3d Cir. 2004) (quoting Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N.

 LaSalle St. P’ship, 526 U.S. 434 (1999)). To carry out those basic purposes, the Third Circuit

 requires that each chapter 11 case be filed in good faith, which in turn requires this Court to

 “patrol[]” “the borderline between fulfillment and perversion; between accomplishing the

 objectives of rehabilitation and reorganization, and the use of these statutory provisions to

 destroy and undermine the legitimate rights and interests of those intended to benefit by this

 statutory policy.” Id. (quoting In re SGL Carbon Corp., 200 F.3d 154, 161 (3d Cir. 1999)).

         In LTL’s prior case, the Third Circuit essentially determined that LTL crossed that

 borderline into “perversion,” making the following findings—every one of which applies equally

 to LTL’s current case:

         • “[f]inancial distress must not only be apparent, but it must be immediate
           enough to justify a filing”;

         • “[r]isks associated with premature filing may be particularly relevant in the
           context of mass tort bankruptcy”;




 3
   Capitalized terms used herein as defined terms and not otherwise defined shall have those meanings ascribed to
 them in the Motion and supporting Certification.

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      •      “testing the nature and immediacy of a debtor’s financial troubles . . . [is]
             necessary because bankruptcy significantly disrupts creditors’ existing claims
             against the debtor”;

          • “courts must always weigh not just the scope of liabilities the debtor faces, but
            also the capacity it has to meet them”;

          • “[the] focus [is] on [LTL’s] assets, liabilities, and, critically, the funding
            backstop it has in place to pay those liabilities”;

          • there was no “support in the record to bear th[is] Court’s assertion that the
            ‘talc liabilities’ ‘far exceed [LTL’s] capacity to satisfy [them]”;

          • “on its filing, LTL did not have any likely need in the present or near-term, or
            even in the long-term, to exhaust its funding rights to pay talc liabilities”;

          • “[f]rom these facts . . . we can infer [] that LTL, at the time of its filing, was
            highly solvent with access to cash to meet comfortably the liabilities as they
            came due for the foreseeable future”;

          • “[t]his all comports with the theme LTL proclaimed in this case from day one:
            it can pay current and future talc claimants in full”;

          • LTL “has a funding backstop . . . that it can draw on to pay liabilities without
            any disruption to its business or threat to its financial viability”;

          • “if time shows, with the progression of litigation outside of bankruptcy, that
            cash available under the Agreement cannot adequately address talc liability[,]
            [p]erhaps at that time LTL could show it belonged in bankruptcy;

          • “[t]he ‘attenuated possibility’ that talc litigation may require [LTL] to file for
            bankruptcy in the future does not establish its good faith as of its petition
            date”;

          • “[a]t best the filing was premature”;

          • “while LTL faces substantial future talc liability, its funding backstop plainly
            mitigates any financial distress foreseen on its petition date”;

          • LTL’s “backstop provides ample financial support to a debtor who [] seeks
            shelter in a system designed to protect those without it”;

      •      “J&J’s belief that this bankruptcy creates the best of all possible worlds for it
             and the talc claimants is not enough, no matter how sincerely held”;




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        • the financial distress requirement is a “safeguard [that] ensures that claimants’
          pre-bankruptcy remedies—here, the chance to prove to a jury of their peers
          injuries claimed to be caused by a consumer product—are disrupted only
          where necessary”;

        • LTL “was in no financial distress when it sought Chapter 11 protection”
          because it had a “safety net shielding all liability then foreseen”; and

        • “[n]o ‘reasonable justification’ validates” the fact that LTL was not in
          financial distress, “[a]nd we cannot currently see how [LTL’s] lack of financial
          distress could be overcome.”

 See In re LTL Mgmt., LLC, 64 F.4th 84, 102-11 (3d Cir. 2023) (emphasis added).

        LTL has misinterpreted the Third Circuit’s decision as providing some kind of

 “guidance” (see Kim Decl. ⁋⁋ 9, 48), or as thwarting some charitable intention on the part of

 LTL and J&J to get money to creditors if only the Third Circuit would stop interfering (see LTL

 Obj. at 43, referring to J&J’s “generosity” and the Third Circuit “defeating” J&J and LTL’s

 “purpose”). To the contrary: the Third Circuit’s decision was a stinging rebuke of LTL’s initial

 attempt to invoke the protections of chapter 11 notwithstanding its ability to pay all talc claims

 foreseeable in the near term. The Third Circuit’s decision is replete with warnings against

 premature filing, not instructions about how to do it right next time. It establishes a “financial

 distress” requirement that LTL still has not met—or has hamstrung itself to appear to have met—

 and likely will not be able to meet legitimately for quite some time, if ever.

        Nevertheless, a scant 131 minutes after this Court dismissed LTL’s prior case at the Third

 Circuit’s direction, LTL filed its current chapter 11 case. The U.S. Trustee, and others, moved to

 dismiss for cause under 11 U.S.C. § 1112(b), with the sole identified “cause” being LTL’s lack

 of good faith in filing this case. As a result, the Motion requires this Court to determine whether,

 unlike its prior case, and despite the mere minutes that separate both cases, LTL filed its current

 case in good faith. Despite LTL’s attempt to shift the burden under the Motion to the U.S.


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 Trustee and the other movants, under Third Circuit precedent the burden rests with LTL to prove

 that it filed its chapter 11 case in good faith. LTL has not met, and cannot meet, that burden.

        The Third Circuit’s good faith analysis requires this Court to “determine where a petition

 falls along the spectrum ranging from the clearly acceptable to the patently abusive.” LTL, 64

 F.4th at 100. The Third Circuit held that LTL’s prior case was not filed in good faith, putting it

 on the “patently abusive” end of the scale. The Third Circuit’s decision in the prior case binds

 this Court regarding all aspects of LTL’s current case that have not changed materially since its

 first filing. Although LTL attempts to raise the same arguments again—including (but not

 limited to) that LTL is faced with a surge of talc and mesothelioma claims, the costs of litigating

 those claims will be considerable, and LTL prefers bankruptcy to multidistrict litigation—these

 arguments were all presented in LTL’s prior case, and none of them mattered to the Third

 Circuit’s determination that LTL did not file in good faith. As a result, the only issue before this

 Court now is whether the changes to LTL’s situation since the Third Circuit’s decision are

 sufficient to move its current case to the “clearly acceptable” end of the scale. But, as addressed

 in the Motion, even with these changes LTL cannot demonstrate good faith because: (i) LTL is

 still not in financial distress, for the exact same reasons the Third Circuit held that it was not in

 financial distress in its prior case; and (ii) even if somehow this Court were to find otherwise,

 LTL artificially manufactured that “financial distress” through its own corporate transactions.

 None of the arguments LTL or the Ad Hoc Committee of Supporting Counsel (the “AHCSC”)

 raise in opposition to the Motion controvert these facts.

        Because LTL clearly cannot prove its good faith in filing this case, it instead focuses its

 arguments on the “unusual circumstances” it claims should prevent this Court from dismissing

 the case under section 1112(b)(2). But, if the Court finds that this case was not filed in good



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 faith—and, in light of the Third Circuit’s findings on financial distress in LTL’s prior case, it

 clearly was not—then this Court will have no choice but to grant the Motion and dismiss the case

 because the requirements of section 1112(b)(2) cannot be satisfied when the “cause” found under

 section 1112(b)(1) is that the filing lacks good faith. Section 1112(b)(2) requires not only the

 existence of “unusual circumstances” but also, among other things, that “there is a reasonable

 justification for the act or omission" and “the act or omission may be cured within a reasonable

 period of time.” Where the cause for dismissal is failure to file in good faith, there can never be

 a “reasonable justification” or “cure.” No matter how many “unusual circumstances” may exist,

 it is irrelevant; section 1112(b)(2) is a multi-prong test and, as the Third Circuit already found,

 there is no “reasonable justification” to file a case where there is a lack of financial distress. The

 lack of financial distress is a gating issue and cannot be “cured.”

        For the following reasons, the arguments raised by LTL and the AHCSC in opposition to

 the Motion all lack merit, and LTL’s current chapter 11 case, like its first, should be dismissed.

                                            ARGUMENT


 I.     As in all chapter 11 cases in this Circuit, unless and until the Third Circuit sitting en
        banc or the Supreme Court decide otherwise, LTL bears the burden of proving that
        it filed its case in good faith.

        LTL argues that the U.S. Trustee and other movants seeking to dismiss LTL’s most

 recent chapter 11 case bear the burden to prove that LTL did not file in good faith. See LTL Obj.

 at 22-25. It alleges that a 2005 amendment to 11 U.S.C. § 1112(b)(1) abrogated pre-2005 Third

 Circuit jurisprudence regarding the applicable burden of proof for determining whether a debtor

 filed its chapter 11 case in good faith. Id. at 23. Whatever the potential merits of that argument

 may be—and the U.S. Trustee can discern none—they have no bearing on the matter before this

 Court, because the Third Circuit has never acknowledged this supposed abrogation.


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         Post-2005 Third Circuit panels, including the one that dismissed LTL’s prior case, 4

 continue to place the burden on the debtor to prove that it filed its case in good faith. See, e.g.,

 LTL, 64 F.4th at 100; In re 15375 Mem’l Corp. v. Bepco, Ltd. P’ship, 589 F.3d 605, 618 (3d Cir.

 2009). As the Third Circuit has never acknowledged any abrogation of its long-standing

 requirement that debtors bear the burden of proving that they filed in good faith, those panels

 had—and future panels will have—no choice but to continue to place the burden of proof on the

 debtor unless and until the Third Circuit sitting en banc or the Supreme Court rule otherwise.

 See First Fid. Bank, N.A. v. Jason Realty, L.P. (In re Jason Realty, L.P), 59 F.3d 423, 431 (3d

 Cir. 1995) (“As a panel of this court, we lack the power to overrule a decision of a previous

 panel[.]”); see also I.O.P. 9.1 (“It is the tradition of this court that the holding of a panel in a

 precedential opinion is binding on subsequent panels. Thus, no subsequent panel overrules the

 holding in a precedential opinion of a previous panel. Court en banc consideration is required to

 do so.”).

         District courts within this circuit have also continued after 2005 to place the burden on

 the debtor to prove good faith. See, e.g., Stingfree Techs. Co. v. Americ Invs. Cap. Co. (In re

 Stingfree Techs. Co.), 427 B.R. 337, 352 (E.D. Pa. 2010); Bepco, L.P. v. 15375 Mem’l Corp. (In

 re 15375 Mem’l Corp.), 400 B.R. 420, 426 (D. Del. 2009), aff’d, 589 F.3d 605 (3d Cir. 2009).

 Indeed, under the doctrine of vertical stare decisis they cannot do otherwise. See Hernandez v.

 Johnson & Johnson Consumer Inc., No. 19-15679, 2023 WL 2634496, at *3 (D.N.J. Mar. 24,

 2023) (holding that New Jersey district courts are “duty-bound to follow precedent set forth by



 4
   Contrary to LTL’s suggestion in footnote 28 of its objection, although LTL chose not to address the issue, the
 applicable burden of proof was indeed pressed by the TCC and Arnold & Itkin LLP (“A&I”) in their opening and
 reply briefs and by the U.S. Trustee in his amicus brief, and was passed upon by the Third Circuit when it directed
 that LTL’s prior case be dismissed for lack of good faith. See 3d Cir. Case No. 22-2003, Dkt. 45 at 12 (U.S.
 Trustee’s amicus brief), Dkt. 46 at 19 (TCC’s opening brief), Dkt. 54 at 17 (A&I’s opening brief), Dkt. 131 at 12 &
 17 (A&I’s reply brief), Dkt. 132 at 22 (TCC’s reply brief), Dkt. 150 at 35 (3d Cir. opinion).

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 the Third Circuit”); see also Planned Parenthood of Se. Pa. v. Casey, 947 F.2d 682, 691-92 (3d

 Cir. 1991), aff’d in part, reversed in part, 505 U.S. 833 (1992) (holding that a lower court is

 bound by a higher court’s “choice of legal standard or test and by the result it reaches under that

 standard or test,” and that “[o]ur system of precedent or stare decisis is thus based on adherence

 to both the reasoning and result of a case, and not just the result alone”).

        Similarly, although LTL would prefer to apply out-of-circuit precedent, “this court is not

 governed by cases in other jurisdictions and is actually bound by Third Circuit precedent.”

 Bailey v. Navient Solutions, LLC (In re Bailey), No. 19-15531-ABA, Adv. No. 19-1159-ABA,

 2021 WL 4314217, at *10 (Bankr. D.N.J. Sept. 22, 2021) (emphasis in original). Consistent

 with controlling precedent, this Court correctly imposed the burden of proof on LTL in its prior

 case (In re LTL Management, LLC, 637 B.R. 396, 405 (Bankr. D.N.J. 2022), rev’d on other

 grounds, 64 F.4th 84 (3d Cir. 2023)) and must do so again in this case. Indeed, LTL has failed to

 cite a single bankruptcy court that flouted Third Circuit precedent on this issue; to the contrary,

 numerous post-2005 bankruptcy courts within this circuit have agreed with this Court that the

 burden of proving good faith continues to rest with the debtor. See, e.g., In re Team Sys. Int’l

 LLC, 640 B.R. 296, 311 (Bankr. D. Del. 2022); In re Rent-A-Wreck of Am., Inc., 580 B.R. 364,

 375 (Bankr. D. Del. 2018); U.S. Trustee v. Stone Fox Capital LLC (In re Stone Fox Capital

 LLC), 572 B.R. 582, 589 (Bankr. W.D. Pa. 2017); In re JER/Jameson Mezz Borrower II, LLC,

 461 B.R. 293, 298 (Bankr. D. Del. 2011).

        LTL’s argument that language inserted into section 1112(b)(1) in 2005 and then removed

 in 2010 somehow impliedly nullified Third Circuit precedent lacks merit. The phrase in

 question—“if the movant establishes cause”—was removed from the statute. Congress’ intent

 behind statutory amendments is best determined by the language of the statute after the



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 amendment, not floor statements by individual members of Congress such as those relied on by

 LTL. See, e.g., Barnhart v. Sigmon Coal Co., 534 U.S. 438, 456-57 (2002) (“Floor statements . .

 . cannot amend the clear and unambiguous language of a statute.”); N.L.R.B. v. SW Gen., Inc.,

 580 U.S. 288, 306 (2017) (“What Congress ultimately agrees on is the text that it enacts, not the

 preferences expressed by certain legislators.”). Thus, Congress must be presumed to have taken

 that language out of section 1112(b)(1) because it didn’t want it in there.

        The 2005 amendment did not expressly abrogate precedent that was based on prior

 versions of section 1112(b). Further, the Third Circuit has never held that the 2005 amendment

 impliedly abrogated its precedent regarding any aspect of its section 1112(b) jurisprudence,

 much less its long-standing requirement that the debtor bears the burden to prove it filed its

 bankruptcy case in good faith. As a result, unless and until the Third Circuit sitting en banc or

 the Supreme Court rule that the 2005 amendment abrogated pre-2005 jurisprudence or otherwise

 establish that the burden of proving good faith rests elsewhere, LTL bears the burden of proving

 that this case—unlike the one dismissed 131 minutes before this case was filed—was filed in

 good faith. As discussed below, LTL has not met, and cannot meet, that burden.

 II.    LTL is either not in financial distress or is in artificially engineered financial
        distress and thus has not met, and cannot meet, its burden to demonstrate that it
        filed its current case in good faith.

        In the Motion, the U.S. Trustee argued in the alternative that either: (i) LTL is still not in

 financial distress, for the exact same reasons the Third Circuit held that it was not in financial

 distress in its prior case; or (ii) LTL artificially manufactured “financial distress” through its own

 corporate transactions. See Motion at 11-13. In either event, LTL did not file this case in good

 faith, and it should be dismissed. For the following reasons, the counter arguments raised in




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 LTL’s objection are meritless, and LTL has not met, and cannot meet, its burden to prove that it

 filed in good faith.

         A.      LTL is not in financial distress because it still has a parental “backstop”
                 sufficient to fund any talc-related obligations it could have anticipated on its
                 petition date to incur in the near term.

         This Court is not only bound by the result of the Third Circuit’s decision in LTL’s prior

 case; it must “adhere[] to both the reasoning and result” of that decision, “and not just the result

 alone.” Planned Parenthood of Se. Pa. v. Casey, 947 F.2d at 691-92 (emphasis added).

         In LTL’s prior case, the Third Circuit held that “a valid bankruptcy purpose assumes a

 debtor in financial distress.” LTL, 64 F.4th at 101 (internal quotation marks omitted). The Third

 Circuit concluded that LTL “was in no financial distress when it sought Chapter 11 protection”

 (id. at 111), and so had not filed in good faith, because as of its petition date LTL was (1) “highly

 solvent with access to cash to meet comfortably its liabilities as they came due for the

 foreseeable future” (id. at 108) as the result of (2) a “funding backstop” (id. at 109) (3) provided

 by its “parent” New JCCI (id. at 111) that was available (4) “outside of bankruptcy” (id. at 106)

 and would (5) “pay current and future talc claimants in full” (id. at 109) and (6) “exceeded any

 reasonable projections available on the record” (id.), which (7) “for [all of J&J’s] products

 liability litigation, including for talc,” was “$2.4 billion for the next two years” (id. at 108). The

 Third Circuit further held that LTL’s prior case was “premature” (id. at 109) because LTL had

 not “faced any serious financial and/or managerial difficulties calling for the need to reorganize

 during its short life outside of bankruptcy” (id.). The Third Circuit stated that, “with the

 progression of litigation outside of bankruptcy, [if] cash available under the Funding Agreement

 cannot adequately address talc liability[,] [p]erhaps at that time LTL could show it belonged in

 bankruptcy.” Id. (emphasis added).



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          The Third Circuit’s reasons for dismissing LTL’s first-filed case apply with full force to

 its second-filed (by mere minutes) case. This Court’s good faith analysis must focus on LTL’s

 financial state on the petition date of its current case, not its potential future litigation costs. 5

 LTL, 64 F.4th at 109-10. Just as in its prior case, LTL was solvent 6 on the petition date, and it

 had a “funding backstop” provided by its “parent” (now Holdco, see Kim Decl. ⁋ 27)), even if it

 no longer had the same “[]grandparent[] safety net” it had before. LTL, 64 F.4th at 111.

          LTL’s new funding agreement “obligates Holdco to provide funding to [LTL] to pay for

 costs and expenses [LTL] incur[s] in the normal course of its business” and “requires Holdco to

 fund amounts necessary [] to satisfy [LTL’s] talc-related liabilities,” and Holdco will provide this

 funding both outside of, and during, any chapter 11 bankruptcy case. Kim Decl. ⁋ 80; see also

 LTL Obj. at 18-19. J&J’s participation has been moved to the background and is only available

 in a bankruptcy case. Kim Decl. ⁋ 82. Despite these changes, LTL still has money available to it

 through its parental backstop with Holdco sufficient “to fund [its] talc liabilities and related costs

 outside bankruptcy.” Kim Decl. ⁋ 84. And, at the time it filed its current case LTL had still not

 engaged in any litigation outside of bankruptcy, because its “short life outside of bankruptcy”

 was only 131 minutes longer than it had been before it filed its prior case.


 5
  The “huge spike” in claims during its prior case referenced by LTL (see LTL Obj. at 11 & 32) is a red herring that
 should not divert this Court from the Third Circuit’s recognition of LTL’s ability to settle or otherwise dispense with
 these claims outside of bankruptcy. LTL, 64 F.4th at 107 (holding that this Court’s “ballooned [] conclusion”
 regarding LTL’s litigation costs “ignore[d] the possibility of meaningful settlement, as well as successful defense
 and dismissal, of claims” outside of bankruptcy).
 6
   LTL argues that it is in financial distress even though it is not insolvent. LTL Obj. at 26-28. Although it is true
 that the Third Circuit stated, in dicta, that a debtor need not be insolvent to file in good faith, it nevertheless held that
 “we cannot ignore that a debtor’s balance-sheet insolvency or insufficient cash flows to pay liabilities (or the future
 likelihood of these issues occurring) are likely always relevant.” LTL, 64 F.4th at 102. And, in its discussion
 regarding insolvency, it cited SGL Carbon and Integrated Telecom—two cases in which it reversed lower court
 decisions and ruled that the solvent debtors in those cases were not in financial distress and so had not filed in good
 faith. See Integrated Telecom, 384 F.3d at 124 (holding that “highly solvent” company had not filed in good faith
 notwithstanding “the collapse of [its] business model” and “[t]he failure of [its] business”); SGL Carbon, 200 F.3 at
 166 (“Courts, therefore, have consistently dismissed Chapter 11 petitions filed by financially healthy companies
 with no need to reorganize under the protection of Chapter 11.”).

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         LTL touts in its objection that its current filing is backed by four times the “funding

 commitment” as its prior case—a curious position given the prior case was dismissed due to

 LTL’s access to ample funding. LTL Obj. at 2. In addition, LTL argues that it is in financial

 distress even though “it should be able to meet its obligations.” LTL Obj. at 4. It makes this

 argument despite having been found to lack financial distress in its prior case precisely because it

 could meet its obligations. LTL, 64 F.4th at 109 (taking LTL “at [its] word” that “it can pay

 current and future talc claimants in full”). LTL also argues that in this case, as in its dismissed

 prior case, “the financing available to [LTL] just prior to its chapter 11 filing was sufficient to

 satisfy the talc claims.” LTL Obj. at 5; see also id. at 17 (stating that the new funding agreement

 “retain[s] the same level of funding available to talc claimants” as in its prior case) (emphasis

 in original) (alteration added). LTL further argues that its agreement with Holdco “remains

 largely unchanged” from the parental backstop provided by New JJCI in its prior case, and

 Holdco’s value “is still sufficient to pay talc claimants.” LTL Obj. at 18.

         Contrary to LTL’s apparent understanding, the Third Circuit’s reasoning was not based

 solely on the fact that J&J was directly involved, nor that the “backstop” could be as much as

 $61 billion. LTL may not have been as flush on the petition date of its current case as it was the

 last time it tried to file a chapter 11 case, but it still had access to more funds than it could have

 anticipated to need in the near term.

         Many of the other circumstances LTL relies on to support its “financial distress”

 argument are the kind of “back-of-the-envelope forecasts of hypothetical worst-case scenarios”

 LTL pitched to this Court in its first case that were flatly rejected by the Third Circuit. LTL, 64

 F.4th at 108; see, e.g., LTL Obj. at 34 (stating that LTL’s “narrower” solvency “does not

 consider billions in escalating legal fees and expenses that would be necessary to defend the tens



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 to hundreds of thousands of talc claims in the tort system in the ensuing decades”); id. at 35

 (referring to “the increased possibility of more exorbitant verdicts as the trial courts ramp up

 trials against [LTL],” and “[o]ne plaintiff verdict could singlehandedly wipe out any existing

 liquidity at [LTL] and Holdco”); id. at 36 (“All indications . . . suggest that [LTL’s] future

 defense costs in the tort system would accelerate and far surpass its historical costs”); id.

 (referring to “the possibility that the MDL will unleash tens of thousands of talc claims to their

 home jurisdictions . . . and the burgeoning possibility of consolidated trials”); id. at 38 (referring

 to “potentially crippling defense costs, settlements and possible Ingham-like verdicts”); id. at 40

 (“more runaway verdicts or burdensome settlements [are] possible at any time”). 7 This

 speculative parade of horribles has no bearing on the issue of whether LTL was in “immediate”

 financial distress when it filed its petition in this case (a mere 131 minutes after its prior case was

 dismissed). LTL, 64 F.4th at 102.

          In light of the foregoing, even with the changes to LTL’s funding, its current filing is still

 closer to the “patently abusive” than the “clearly acceptable” end of the spectrum for the same

 reasons the Third Circuit held in its prior case. Id. at 100. LTL “seeks shelter in a system

 designed to protect those without” (id. at 111) even though it still has access to a parental

 backstop it could rely on to help fund whatever immediate expenses existed as of the petition

 date in its current case. As a result, LTL has still not established that it is in financial distress,

 and thus it has not met, and cannot meet, its burden to prove it filed in good faith and this case

 must be dismissed.



 7
   The bankruptcy court in the chapter 11 cases of a 3M Corporation affiliate—which relied heavily on the Third
 Circuit’s decision in LTL’s prior case to find that the debtors’ cases did not have a valid bankruptcy purpose because
 they “were not prompted by concerns over financial distress or impending insolvency”—recently held that the cases
 were “a litigation management tactic and not a rehabilitative effort” because they “were initiated to manage the
 MDL process,” and dismissed the cases for lack of good faith. See In re Aearo Techs. LLC, Nos. 22-02890-JJG-11
 through 22-02896-JJG-11, 2023 WL 3938436, at **20, 22 (Bankr. S.D. Ind. June 9, 2023).

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         B.      In the alternative, even if LTL successfully engineered financial distress by
                 its pre-dismissal corporate transactions, it still cannot prove that its current
                 case was filed in good faith.

         The Motion argued in the alternative that, if LTL’s corporate transactions did in fact

 manufacture financial distress, then its current case was still not filed in good faith, and should

 be dismissed, because: (i) LTL acted in bad faith when it terminated the 2021 Funding

 Agreement; (ii) LTL’s current case does not serve a valid bankruptcy purpose because it is really

 designed to benefit J&J, not LTL; (iii) LTL’s current case was filed as a litigation tactic; and (iv)

 LTL’s actions preparatory to filing its current case were taken during its prior case without

 authorization of this Court and without regard to its fiduciary duties. Motion at 14-19. Nothing

 that LTL raises in its opposition to the Motion controverts these facts or demonstrates LTL’s

 good faith in filing.

         LTL admits that due to its replacement of the 2021 Funding Agreement with the less

 lucrative 2023 Funding Agreement “there can be no dispute that the extent of [its] solvency has

 narrowed since October 14, 2021.” LTL Obj. at 33. It also admits that unlike in its prior case

 “J&J’s support [is] available only in reorganization.” LTL Obj. at 43. Nevertheless, LTL insists

 that “Holdco’s obligations . . . as of the Petition Date were fundamentally the same obligations as

 New JCCI’s obligations at the commencement of” LTL’s prior case.” LTL Obj. at 42. If LTL,

 with its Holdco backstop, truly has “the financial resources it needs to address its talc liability”

 (LTL Obj. at 43), then LTL is not in financial distress and its case should be dismissed as not

 having been filed in good faith. LTL can’t have it both ways—it is either financially healthy, in

 which case filing for chapter 11 is not in good faith, or it shot itself in the foot just so it could

 limp into chapter 11—which would be, if anything, evidence of “worse” faith than it showed

 when it filed the prior case.



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        In addition, LTL all but admits that its post-Third Circuit corporate transactions were

 done to benefit J&J, not LTL. See LTL Obj. at 46 (the Third Circuit’s decision “deprived J&J of

 the material consideration it offered for [its] backstop commitment under the 2021 Funding

 Agreement”); id. at 50 (the Third Circuit’s decision “deprived J&J of the consideration for which

 it entered into the agreement, and destroyed all expected value of the agreement to J&J and

 [LTL]”). The Third Circuit’s “frustration of [J&J’s] purpose” caused J&J to go back to the

 drawing board—but only to draw up a new arrangement to effectuate J&J’s ultimate “purpose”:

 to use LTL as a pawn to rid J&J and its affiliates of talc liability. To the extent J&J and LTL

 “share[] a common purpose” (LTL Obj. at 52), J&J obviously decides what that purpose will be.

        The only argument LTL provides regarding its “valid bankruptcy purpose” is that it

 sought “to use the tools of chapter 11” to resolve its talc liabilities “through a trust established

 pursuant to a confirmed plan of reorganization.” LTL Obj. at 57; see also id. at 58 (“Using

 chapter 11 to comprehensively address present and future tort liabilities is, in fact, a well-

 established purpose for a filing.”). The Third Circuit has held that the desire to use “bankruptcy

 tools” is not itself a “valid bankruptcy purpose,” and so cannot carry a debtor’s burden to prove

 that its case was filed in good faith: “Just as a desire to take advantage of the protections of the

 Code cannot establish bad faith as a matter of law, that desire cannot establish good faith as a

 matter of law.” Integrated Telecom, 384 F.3d at 128 (emphasis in original). The question is not

 whether LTL can confirm a plan with a section 524(g) trust, but “whether it is entitled to employ

 the ‘considerable powers’ of Chapter 11” to try to do so. Primestone Inv. Partners L.P. v.

 Vornado PS, L.L.C. (In re Primestone Inv. Partners L.P.), 272 B.R. 554, 558 (D. Del. 2002)

 (emphasis added); see also Cedar Shore Resort, Inc. v. Mueller (In re Cedar Shore Resort, Inc.),

 235 F.3d 375, 381 (8th Cir. 2000) (“[A]ny debtor who files bankruptcy in bad faith should not be



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 permitted to enjoy the protections of Chapter 11 even though [it] might be capable of

 effectuating a reorganization.”).

        LTL also argues that its current case was not filed as an abusive litigation tactic. LTL

 Obj. at 61-62. Of course, LTL’s very existence is a litigation tactic—it was “created to file for

 bankruptcy” (LTL, 64 F.4th at 110), and its chapter 11 cases were “aimed to beat back talc

 litigation in trial courts” (id. n.19). Indeed, LTL all but admits that its bankruptcy filings are

 intended to address “Ingham-like verdicts.” LTL Obj. at 38. Although the Third Circuit did not

 reach the issue, it did provide a very clear indicator of its position: “[A] filing to change the

 forum of litigation where there is no financial distress raises, as it did in SGL Carbon, the specter

 of ‘abuse which must be guarded against to protect the integrity of the bankruptcy system.’”

 LTL, 64 F.4th at 110 n.19 (quoting SGL Carbon, 200 F.3d at 169).

        Termination of the 2021 Funding Agreement and replacement with the 2023 Funding

 Agreement was formulated while LTL’s prior bankruptcy case was pending. LTL Obj. at 57.

 LTL states that “[t]he replacement of [LTL’s] funding support was not effectuated until the

 interval between dismissal of the 2021 Chapter 11 Case and commencement of this Chapter 11

 Case” (id.), but that was only a 131-minute period. Realistically, the negotiations and drafting

 occurred sometime between the Third Circuit’s January 30, 2023, decision and the April 4, 2023,

 dismissal of LTL’s prior case—which means they were done while LTL was a debtor in

 possession under this Court’s jurisdiction. As a result, termination of the old funding agreement

 and replacement with LTL’s new funding agreement should have been presented to this Court

 for its approval—which would have provided all parties in interest with notice and an

 opportunity to be heard.

        For the foregoing reasons, LTL cannot prove its current case was filed in good faith even



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 if it did manufacture financial distress through its corporate transactions, and its case should be

 dismissed for cause under section 1112(b)(1).

 III.    Section 1112(b)(2) cannot be used to obviate the need for this Court to first make a
         finding regarding “cause” under section 1112(b)(1) and is not applicable when the
         “cause” found is the failure to file in good faith.

         According to the Third Circuit, once there is a finding of “cause” under section

 1112(b)(1), the opposing party bears the burden of proving all the elements of section 1112(b)(2)

 to prevent the case from being converted or dismissed. See In re Dr. R.C. Samanta Roy Inst. of

 Sci. Tech. Inc., 465 F. App’x 93, 97-98 (3d Cir. 2011) (affirming dismissal where debtors failed

 to meet their “burden of demonstrating that there was ‘a reasonable justification for [their] . . .

 omission . . . that [would] be cured in a reasonable period of time’”) (quoting 11 U.S.C.

 § 1112(b)(2)(B)(i) & (ii)) (alterations in original).

         The District of New Jersey agrees. See In re Tarquinio, No. 17-cv-01917, 2017 WL

 5707538 at *6 (D.N.J. Nov. 27, 2017) (affirming conversion to chapter 7 and holding that, once

 cause is found, the opposing party bears the burden to make the section 1112(b)(2) showing).

         Other district courts within the Third Circuit agree that the findings referenced in section

 1112(b)(2) become relevant only after cause is found under section 1112(b)(1). See, e.g.,

 Mumma v. Vara (In re Mann Realty Assocs., Inc.), No. 1:18-CV-683, 2019 WL 4780937, at *6

 (M.D. Pa. Sept. 30, 2019) (finding that section 1112(b)(2) comes into play “[a]fter cause is

 established,” and affirming conversion where debtor did not satisfy the “reasonable justification”

 and “cure[]” requirements of section 1112(b)(2)); Grasso v. Madison Capital Co., No. 13-4308,

 2014 WL 1281123, at *2 n.9 & *6 n.44 (E.D. Pa. Mar. 31, 2014) (same); Alston v. DeAngelis (In

 re Alston), No. 13-cv-1855, 2013 WL 6210249, at *4 (E.D. Pa. Nov. 27, 2013) (same). 8


 8
  In addition, many appellate decisions throughout the nation have held that the findings referenced in section
 1112(b)(2) only come into play after the bankruptcy court makes a finding of cause under section 1112(b)(1). See,

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          Thus, it is a “well-settled” “legal principle[] governing the application of § 1112(b)” that

 section 1112(b)(2) is only considered “[o]nce cause is found” under section 1112(b)(1). See In

 re 1121 Pier Village LLC, 635 B.R. 127, 137 (Bankr. E.D. Pa. 2022).

          Although colloquially referred to as the “unusual circumstances” test, section 1112(b)(2)

 actually requires the objecting party to show every one of six separate components to avoid

 conversion or dismissal upon a finding of cause:

              (1) “unusual circumstances” exist; [and]

              (2) conversion or dismissal “is not in the best interests of creditors and the
                  estate”; [and]

              (3) there is a reasonable likelihood of confirmation of a plan within any time
                  period mandated by the Code or[] otherwise within a reasonable time;
                  [and]

              (4) the grounds for dismissal for “cause” do not include those set forth in
                  § 1112(b)(4)(A); [and]

              (5) there is a reasonable justification for the act or omission of the debtor; and

              (6) the act or omission may be cured within a reasonable period of time.

 See In re Korn, 523 B.R. 435, 465 (Bankr. E.D. Pa. 2014) (alterations added); see also Andover

 Covered Bridge, LLC v. Harrington (In re Andover Covered Bridge, LLC), 553 B.R. 162, 176

 &177 n.5 (B.A.P. 1st 2016) (holding that, because “Section 1112(b)(2) is written in the

 conjunctive,” “[t]he debtor has the burden of establishing that all of the factual elements of



 e.g., La Trinidad Elderly LP SE v. Loíza Ponce Holdings LLC (In re La Trinidad Elderly LP SE), 627 B.R. 779, 798
 (B.A.P. 1st Cir. 2021) (holding that section 1112(b)(2) comes into play “[a]fter a finding of cause”); Layman v.
 Tenn. St. Bank, No. 2:19-CV-233, 2021 WL 6425951, at *7 (E.D. Tenn, Feb, 2, 2021) (holding that, “[a]fter a court
 determines that a petition should be dismissed [under section 1112(b)(1)], the party objecting to dismissal must
 establish” all of the section 1112(b)(2) elements); L&R Dev. & Inv. Corp. v. Román-Ramos (In re L&R Dev. & Inv.
 Corp.), No. PR 19-044, 2020 WL 1862377, at *5 (B.A.P. 1st Cir. Apr. 12, 2020) (holding that section 1112(b)(2)
 “applies” “if the bankruptcy court finds cause”); Green v. Howard Family Trust Dated August 21, 1998 (In re
 Green), BAP Nos. NV-15-1349-KiLDo & NV-15-1360-KiLDo, Bk. No. 14-15981-abl, 2016 WL 6699311, at **10-
 11 (B.A.P. 9th Cir. Nov. 9, 2016) (holding that section 1112(b)(2) comes into play “once the bankruptcy court
 determines that cause exists”); In re Creekside Sr. Apartments, L.P., 489 B.R. 51, 63 (B.A.P. 6th Cir. 2013) (holding
 that section 1112(b)(2) comes into play “[o]nce a party demonstrates that cause exists”).

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 § 1112(b)(2) exist”). Failure to prove any one of these components will result in conversion or

 dismissal of the case without the need to address the rest of the components. See, e.g., Green,

 2016 WL 6699311, at *11 (“[E]ven if Debtors could confirm a plan within a reasonable time,

 they have not shown how the ‘cause’ established to convert their case—bad faith—was either

 reasonably justified or curable.”); Korn, 523 B.R. at 469 (“Without a reasonable justification for

 the Debtor’s inadequate performance as DIP, the case must be dismissed.”); In re Triumph

 Christian Center, Inc., 493 B.R. 479, 496-97 (Bankr. S.D. Tex. 2013) (finding bad faith and

 dismissing case because, “even if th[e] Court found that there were ‘unusual circumstances’

 establishing that dismissal of th[e] case would not be in the best interests of the Debtor’s

 creditors, the Debtor has not proven the additional elements required under section 1112(b)(2)”).

          Where, as here, the “cause” found under section 1112(b)(1) is the failure to file a chapter

 11 petition in good faith, section 1112(b)(2) is never applicable because the failure to file in good

 faith can never be justified or cured—making prongs 5 and 6 impossible to satisfy. 9 See, e.g.,

 Layman v. Tenn. St. Bank, No. 2:19-cv-233, 2021 WL 6425951, at *2 & *8 (E.D. Tenn. Feb. 2,

 2021) (affirming dismissal for filing in bad faith, and holding that debtor’s “actions cannot be

 cured”); Sapphire Dev., LLC v. McKay, 549 B.R. 556, 576 (D. Conn. 2016) (affirming dismissal

 for filing in bad faith, and holding that debtor had not shown “a ‘reasonable justification’ for the

 debtor’s filing bankruptcy on the eve of trial, let alone how that act could be ‘cured’”); Green,

 2016 WL 6699311, at *11 (“[F]iling a petition in bad faith could never be reasonably justified or

 curable, no matter what plan Debtors could now propose.”); ECV Dev., LLC v. Emerald Bay




 9
   LTL’s interpretation of section 1112(b)(2) is backwards. LTL Obj. at 63-64. If LTL is “found to lack financial
 distress,” it would be found to have not filed in good faith pursuant to the Third Circuit’s decision in its prior case—
 which would require this case to be dismissed because the section 1112(b)(2) showings could never be made since
 such a filing can never be justified or cured.


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 Fin., Inc. (In re ECV Dev., LLC), Nos. SC-06-1453-PaMkB & 06-02001, 2007 WL 7540960, at

 *7 n.17 (B.A.P. 9th Cir. June 15, 2007) (“[W]e take it as axiomatic that there cannot be a

 reasonable justification for a bad faith filing.”). 10

          The Third Circuit held that LTL’s lack of good faith in filing its prior case could not be

 justified or cured. See LTL, 64 F.4th at 110 (“Our ground for dismissal is LTL’s lack of financial

 distress. No ‘reasonable justification’ validates that missing requirement in this case. And we

 cannot currently see how its lack of financial distress could be overcome.”). This holds just as

 true in the current case.

          Note that it is not the filing of LTL’s case that must be justified under section

 1112(b)(2)(B)(i). Instead, it would be LTL’s failure to file in good faith as found under section

 1112(b)(1) that would have to be justified. See 11 U.S.C. § 1112(b)(2)(B)(i) (“the grounds for

 converting or dismissing the case [i.e., the cause found under section 1112(b)(1)]) include an act

 or omission . . . (i) for which there exists a reasonable justification”). Essentially, this Court

 would have to find that the filing of a petition without justification was justified. And that would

 be nonsensical.

          Contrary to LTL’s and the AHCSC’s assertion, confirmation of a plan would neither

 justify nor cure LTL’s failure to file its current case in good faith. LTL Obj. at 62-68; AHCSC

 Obj. at 21, ⁋ 53. As the Third Circuit emphasized in dismissing LTL’s prior case, the good faith

 analysis must focus on LTL’s lack of financial distress as of the date it filed its chapter 11

 petition, not on subsequent events. See LTL, 64 F.4th at 109 (“The ‘attenuated possibility’ that


 10
    See also In re Hinesley Family Ltd. P’ship No. 1, 460 B.R. 547, 553 (Bankr. D. Mont. 2011) (holding that, where
 cause under section 1112(b)(1) is filing petition in bad faith, “then section 1112(b)(2) would not apply because, by
 determining that the debtor filed the case in bad faith, the court would foreclose a reasonable justification for the
 filing”); In re Forest Hill Funeral Home & Memorial Park-East, LLC, 364 B.R. 808, 824 (Bankr. E.D. Okla. 2007)
 (holding that debtor had not met its section 1112(b)(2) burden, and dismissing case for bad faith, where “the conduct
 of [the debtor’s principals] which is at the foundation of the Court’s decision is subject to neither reasonable
 justification nor timely cure”).

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 talc litigation may require it to file for bankruptcy in the future does not establish its good faith

 as of its petition date.”) (emphasis added); id. at 110 (“[W]hile LTL faces substantial future talc

 liability, its funding backstop plainly mitigates any financial distress foreseen on its petition

 date.”) (emphasis added).

         Filing, or even confirming, a plan cannot “cure” a case that never should have been filed

 to begin with; the only “cure” for such a case is dismissal. Cf. SGL Carbon, 200 F.3d at 159 n.8

 (noting that “[i]n bad faith cases involving the filing of a petition that is an abuse of the

 bankruptcy process,” dismissal is the only available remedy because “[t]he proponent of an

 abusive petition does not belong in bankruptcy”). Indeed, in SGL Carbon, the debtor filed a

 plan, yet the Third Circuit nevertheless directed the case to be dismissed as not having been filed

 in good faith. Id. at 157, 167 & 169-70. The same thing happened in 15375 Memorial Corp.,

 where the Third Circuit held that the mere filing of a liquidation plan did not evince good faith

 and affirmed the dismissal of the case for lack of good faith. 589 F.3d at 624, 626. And in

 Integrated Telecom—where a plan was actually successfully confirmed (384 F.3d at 116, 129-

 30)—the Third Circuit still reversed and directed that the case be dismissed as having not been

 filed in good faith.

         In any event, even if confirming a plan could somehow “cure” a filing that was not made

 in good faith, there can certainly never be a “reasonable justification” for such a filing, and thus

 all of the section 1112(b)(2) criteria cannot be met. See In re Baroni, 2021 WL 243322, at *6

 (C.D. Cal. Jan. 25, 2021), aff’d, 36 F.4th 958 (9th Cir. 2022) (affirming dismissal because “it is

 insufficient for a debtor to prove that the grounds for cause will be cured immediately; she must

 additionally provide a reasonable justification for the cause”). LTL’s belief that bankruptcy

 court is the better forum in which to address its talc liability, no matter how fervently that belief



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 may be held, cannot justify a filing that was not made in good faith. LTL, 64 F.4th at 111

 (“J&J’s belief that this bankruptcy creates the best of all possible worlds for it and the talc

 claimants is not enough, no matter how sincerely held.”).

          As the “reasonable justification” and “cure[]” components of section 1112(b)(2) can

 never be met when a chapter 11 petition is not filed in good faith, LTL’s and the AHCSC’s

 arguments regarding “unusual circumstances,” “best interests of creditors,” and “reasonable

 likelihood a plan will be confirmed” are all irrelevant. 11 Because section 1112(b)(2) is written in

 the conjunctive, LTL’s inability to satisfy the “reasonable justification” and “cure” prongs is

 dispositive; the other section 1112(b)(2) components alone, even if proven, cannot serve to

 override a section 1112(b)(1) finding of lack of good faith when the justification and cure

 components cannot be met. The evidence LTL offers in this regard is just a diversion, meant to

 distract from the immense hurdle LTL must overcome to somehow show financial distress.

          Moreover, none of the cases cited by the AHCSC support the applicability of section

 1112(b)(2) where the “cause” found under section 1112(b)(1) is the failure to file in good faith.

 Indeed, three of the cases it cites are of limited utility in any case, much less this case, because

 they interpreted superseded versions of section 1112(b). AHCSC Obj. at 19-21, ⁋⁋ 48, 50 & 53.

 For example, in Camden Ordinance Mfg. Co. of Arkansas, Inc. v. U.S. Trustee (In re Camden

 Ordinance Mfg. Co. of Arkansas, Inc.), 245 B.R. 794, 802 (E.D. Pa. 2000), the court was

 interpreting the pre-2005 version of section 1112(b), which did not include the “unusual

 circumstances” concept added by the Bankruptcy Abuse Prevention and Consumer Protection

 Act of 2005. In that case the court found cause and converted the case to chapter 7 as requested


 11
    In the interest of completeness, the U.S. Trustee submits that LTL and the AHCSC have also failed to satisfy the
 other components of section 1112(b)(2) because they have yet to provide any proof that “unusual circumstances”
 exist, that not dismissing the case would be in the “best interest of creditors,” or that there is a “reasonable
 likelihood a plan will be confirmed.”

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 by the U.S. Trustee and creditors rather than dismissing the case as the debtor preferred. 245

 B.R. at 797, 802. Allowing the case to remain in chapter 11 was not on the table, and the

 creditors preferred that the debtor be liquidated in chapter 7 rather than have the case dismissed.

 Id. at 799 (“[T]he only outstanding issue was whether the case should be dismissed or

 converted.”); id. at 800 “[A]ll creditors present at the . . . hearing[,] in addition to the UST,

 favored conversion over dismissal.”).

         Similarly, the courts in In re Sherwood, No. 04-50584, 2008 WL 2074098 (Bankr. W.D.

 Mo. May 14, 2008), and In re Melendez Concrete Inc., No. 11-09-12334, 2009 WL 2997920

 (Bankr. D.N.M. Sept. 15, 2009), were interpreting the version of section 1112(b)(1) in existence

 between 2005 and 2010, which read as follows:

             (b)(1) Except as provided in paragraph (2) of this subsection, subsection (c) of
             this section, and section 1104(a)(3), on request of a party in interest, and after
             notice and a hearing, absent unusual circumstances specifically identified by
             the court that establish that the requested conversion or dismissal is not in the
             best interests of creditors and the estate, the court shall convert a case under
             this chapter to a case under chapter 7 or dismiss a case under this chapter,
             whichever is in the best interests of creditors and the estate, if the movant
             establishes cause.

 11 U.S.C. § 1112(b)(1) (superseded) (emphasis added).

         In other words, before the 2010 amendment that deleted the highlighted language,

 “unusual circumstances . . . that establish that the requested conversion or dismissal is not in the

 best interests of creditors and the estate” was relevant in determining whether cause existed

 under section 1112(b)(1). After the 2010 amendments, however, the “unusual circumstances”

 concept was relegated to section 1112(b)(2), which only comes into play after cause has been

 found and does not factor into the determination of whether cause exists in the first place.

         In Sherwood, the court found that the debtor did not show cause to dismiss its own case,

 and further found that the “unusual circumstances” that were referenced at that time in section

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 1112(b)(1) were not present. Sherwood, 2008 WL 2074098, at **2-3.

         In Melendez Concrete, the court found that the debtor’s failure to file timely monthly

 operating reports, disclose claims against insiders, and other failings constituted “cause” for

 purposes of the pre-2010 version of section 1112(b)(1). Melendez Concrete, 2009 WL 2997920,

 at *6. It did not, however, find that the debtor filed in bad faith. Id. at *4. The court then

 considered the “absent unusual circumstances” language that was at that time part of section

 1112(b)(1) and determined that the requisite unusual circumstances were present. Id. at **6-7.

         To the extent Camden Ordinance, Sherwood, and Melendez Concrete have any continued

 utility, it is with regard to certain of the factors a debtor is required to prove under section

 1112(b)(2), which is where the concepts addressed in those cases now reside.

         Although the remaining cases cited by the AHCSC interpreted the current version of

 section 1112(b), those courts actually found cause and proceeded to either convert or dismiss the

 case. See 1121 Pier Village, 635 B.R. at 137 (finding cause under section 1112(b)(1) but not

 analyzing section 1112(b)(2) “because the Debtors do not argue and have made no showing that

 ‘unusual circumstances’ exist under § 1112(b)(2)”); Korn, 523 B.R. at 469 (finding cause under

 section 1112(b)(1) and converting case to chapter 7 because the case was not unusual and the

 grounds constituting cause were “inexcusable” so there was no “reasonable justification” for

 them). Indeed, the language in 1121 Pier Village quoted by the AHCSC dealt with the decision

 whether to convert or dismiss the case, not whether the case should remain in chapter 11.

 AHCSC Obj. at 19, ⁋ 47; see also 1121 Pier Village, 635 B.R. at 140 (“With these principles in

 mind, I turn to the choice between dismissal and conversion.”). In no case cited by the AHCSC

 did the court use section 1112(b)(2) to override its finding of cause under section 1112(b)(1).

         In light of the foregoing, section 1112(b)(2) does not provide a means by which to avoid



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 either the hard decision of whether “cause” exists under section 1112(b)(1), or the result required

 if that cause is found. Here, the only cause pled in the Motion is lack of good faith. If this Court

 finds that LTL’s case was filed in good faith, it will deny the Motion and section 1112(b)(2) will

 not be a consideration. But, if this Court finds that LTL did not file in good faith, section

 1112(b)(2) cannot be satisfied because the failure to file in good faith can never be justified or

 cured—two prongs of a multipart test—and this Court must dismiss the case.

                                          CONCLUSION

        Based on the foregoing and for the reasons set forth in the Motion, the U.S. Trustee

 respectfully requests that the Court grant the Motion and dismiss the case.

                                               Respectfully submitted,

                                               ANDREW R. VARA
                                               UNITED STATES TRUSTEE
                                               REGIONS 3 & 9

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